Case 2:24-cv-05478-GAW Document47 Filed 06/16/25 Pagei1of2

IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

JESSICA MURCH, individually and on
behalf of all others similarly situated,

Plaintiff,

QUEST HEALTH SOLUTIONS, LLC
AND
HAPPY QUOTE LLC

Defendants.

Case No.
2:24-cv-05478-GAW

AND NOW this 16" day of June, 2025 upon consideration of Plaintiffs Motion for

Leave to Serve a Third Party Subpoena for IP Address information (DKT. 38) and having no

objection filed thereto, it is hereby ORDERED and DECREED that the Motion is

GRANTED as follows:

1. Plaintiff, through his counsel, may serve Verizon a Rule 45 subpoena

commanding them to provide Plaintiff documents reflecting the true

name, address, contact telephone number, and e-mail address for the

subscriber assigned the IP address 100.14.129.8 on October 2, 2024 at

20:19 Coordinated Universal Time (UTC),

Case 2:24-cv-05478-GAW Document47_ Filed 06/16/25 Page 2of2

2. Verizon is further ordered to refrain from destroying information
responsive to the subpoena or documents and records pertaining to IP
address 100.14,129.8 as soon as a copy of this Court Order, and subpoena,
is duly served upon the registered agent for Verizon. ‘This paragraph shall
serve as an order under the provisions of 47 U.S.C. § 551(e), pertaining to
destruction of information by cable providers. This order shall remain in
effect until the termination of the litigation or further order of the Court.

3. Verizon shall comply with statutory customer notification provisions prior
to making disclosure responsive to the Subpoena to the Plaintiff, including
by providing its customer 14 days to object to the disclosure of
information sought by seeking to quash the subpoena.

4, Plaintiff may use the information disclosed in response to this subpoena for
the sole purposes of litigation and enforcing her TCPA claims, as more
fully set forth in her complaint, and not for any other improper purpose,

such as to harass the person or entity identified in the response.

te Cepaet
eB

Gail A. Weilheimer, J.

